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     FILED & JUDGMENT ENTERED
            Steven T. Salata


               January 18 2023


      Clerk, U.S. Bankruptcy Court
     Western District of North Carolina
                                                                           _____________________________
                                                                                    J. Craig Whitley
                                                                             United States Bankruptcy Judge




                        IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                     (Charlotte Division)

  In re:                                             )        Chapter 11
                                                     )
  B GSE GROUP, LLC,                                  )        Case No. 23-30013
                                                     )
                                 Debtor.             )

      EX PARTE ORDER AUTHORIZING THE RETENTION AND EMPLOYMENT
               OF GREERWALKER LLP AS FINANCIAL ADVISOR

           Upon consideration of the application (the “Application”) of the above-captioned debtor

and debtor in possession (the “Debtor”) for an order authorizing the retention and employment of

GreerWalker LLP (“GreerWalker”) as financial advisor to the Debtor pursuant to sections 327(a)

and 330 of the Bankruptcy Code; and upon consideration of the declaration of William A.

Barbee (the “Barbee Declaration”), a partner of litigation and forensic services for GreerWalker,

in support of the Application; and it appearing that due notice of the Application has been given

and that no other or further notice need be given; and it appearing that the Court has jurisdiction

over the Application pursuant to 28 U.S.C. §§ 157 and 1334; and the Court having considered

the submissions and arguments of counsel, and the opposition thereto, if any; and the Court

being satisfied, based on the representations made in the Application and in the Barbee

Declaration, that (i) GreerWalker does not hold or represent any interests adverse to the

bankruptcy estate, (ii) GreerWalker and its employees are disinterested persons as that term is




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defined under section 101(14) of the Bankruptcy Code, and (iii) employment of GreerWalker is

necessary and in the best interests of the Debtor and its estate; and sufficient cause appearing

therefore, it is hereby

         ORDERED, that the Application is GRANTED; and it is further

         ORDERED, that in accordance with section 327(a) of the Bankruptcy Code, the Debtor is

authorized to retain and employ GreerWalker as its financial advisor; and it is further

         ORDERED, that GreerWalker shall be entitled to allowance of compensation and

reimbursement of expenses, upon the filing and approval of monthly and final applications,

pursuant to sections 330 and 331 of the Bankruptcy Code, the Bankruptcy Rules, the Local Rules

of this Court, and other Orders of this Court.

This Order has been signed electronically.                                    United States Bankruptcy Court
The Judge's signature and Court's seal
appear at the top of this Order.




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